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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY and STATE
FARM FIRE AND CASUALTY COMPANY,

         Plaintiffs,
                                                    Civil Action No. _________________
                  v.

DELAWARE DIAGNOSTIC &                               JURY TRIAL DEMANDED
REHABILITATION CENTER, P.A.;
CONRAD K. KING, JR., M.D., P.A.;
DAMON D. CARY, D.O., P.A.; WILLIAM R.
ATKINS, JR., M.D., LLC; CONRAD K.
KING, JR.; DAMON D. CARY; and
WILLIAM R. ATKINS, JR.,

         Defendants.



                                         COMPLAINT
         Plaintiffs State Farm Mutual Automobile Insurance Company (“State Farm Mutual”) and
State Farm Fire and Casualty Company (“State Farm Fire”) bring this complaint against
Delaware Diagnostic & Rehabilitation Center, P.A., Conrad K. King, Jr., M.D., P.A., Damon D.
Cary, D.O., P.A., William R. Atkins, Jr., M.D., LLC, Conrad K. King, Jr., M.D., Damon D.
Cary, D.O., and William R. Atkins, Jr., M.D. (collectively “Defendants”), and allege as follows:

                                       Nature of the Case
         1.       This action seeks to recover money fraudulently and unlawfully obtained from
State Farm Mutual and State Farm Fire by Defendants through a scheme to obtain patients’ no-
fault insurance benefits by delivering medical services that were not tailored to the
individualized complaints and needs of the patients and Defendants’ false representations about
their services.




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         2.       Defendants are all healthcare providers who treated – and continue to treat –
patients who were involved in automobile accidents and who were or are insured by State Farm
Mutual or State Farm Fire (“State Farm Insureds”).
         3.       In general, the State Farm Insureds began treatment with Defendants shortly after
an automobile accident for relatively minor injuries. Almost all of the insureds involved in this
case were diagnosed with some type of “sprain” or “strain” of at least one of the cervical,
thoracic or lumbar regions of the back.
         4.       The vast majority of State Farm Insureds (more than 90%) also received
prescriptions for opioid pain medications, such as oxycodone, hydrocodone or codeine.
Although these types of medication should be reserved for significant and debilitating pain,
Defendants routinely and repeatedly prescribed them for minor “sprains” and “strains.”
         5.       Opioid medications, like those prescribed by the Defendants, pose a significant

risk of addiction and abuse. Consequently, medical professionals must employ safeguards to
prevent misuse or diversion of opioids. Defendants, however, did not employ those safeguards.
To streamline their operations to obtain insurance benefits, Defendants largely neglected to use
even the most basic safeguards such as checking the Delaware Prescription Monitoring Program,
utilizing treatment agreements, performing pill counts, and requiring periodic drug testing.
         6.       Indeed, rather than protecting their patients from the dangers of opioids,
Defendants capitalized on the addictive nature of opioids and the fact that opioid prescriptions
generally could be written for a 31-day supply. Defendants used opioid prescriptions to induce
patients to repeatedly return to Defendants for unreasonable and unnecessary treatment, which
Defendants billed to State Farm Mutual and State Farm Fire.
         7.       Defendants also prescribed an initial round of “physical therapy” for most patients
(more than 80%). These treatments usually consisted primarily of passive treatments rendered

by clinic staff who were not licensed physical therapists and which treatments were not designed
to improve each patient’s individual injuries, but to increase Defendants’ billings.



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         8.       As a result of Defendants’ conduct: (a) patients were not legitimately and
appropriately treated for conditions they may have had; (b) patients were subjected to physical
therapy treatments and received unnecessary medications; and (c) patients’ limited insurance
benefits were substantially reduced and, therefore, were not available for any legitimate medical
treatment the patients may have needed.
         9.       From January 2016 through August 2018, Defendants treated 240 State Farm
Insureds1 and billed State Farm Mutual or State Farm Fire for the services allegedly provided to
those insureds.
         10.       Through their fraudulent and unlawful scheme, Defendants obtained combined
insurance benefits payments from State Farm Mutual and State Farm Fire in excess of $1.1
million.
         11.      In this action, State Farm Mutual and State Farm Fire seek to recover their

payments to Defendants through common law claims for fraud, unjust enrichment, and civil
conspiracy. State Farm Mutual and State Farm Fire also seek a declaratory judgment confirming
that they are not obligated to pay any of Defendants’ unpaid bills, invoices or demands because
Defendants’ services were fraudulent, unnecessary, and unlawful.
                                           Jurisdiction and Venue
         12.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)
because the action is between citizens of different states and the amount in controversy exceeds
$75,000, exclusive of interest and costs.
         13.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a
substantial part of the events giving rise to State Farm Mutual and State Farm Fire’s claims
occurred in this judicial district.




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 Some of these 240 State Farm Insureds were involved in more than one automobile accident and treated with
Defendants after each accident. Defendants submitted bills in connection with a total of 193 unique patient claims.

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                                                Parties
         14.      Plaintiff State Farm Mutual is an Illinois property and casualty insurer incorporated
under the laws of Illinois with its principal place of business in Bloomington, Illinois. State Farm
Mutual is qualified to conduct business in Delaware.
         15.      Plaintiff State Farm Fire is an Illinois property and casualty insurer incorporated
under the laws of Illinois with its principal place of business in Bloomington, Illinois. State Farm
Fire is qualified to conduct business in Delaware.
         16.      State Farm Mutual and State Farm Fire issue automobile insurance policies in
Delaware, which provide insurance coverage for, among other things, reasonable and necessary
expenses for medical, hospital, dental, surgical, medicine, x-ray, and ambulance services for injuries
resulting from automobile accidents.
         17.      Defendant Conrad K. King, Jr., M.D. (“Dr. King”) is a citizen of Delaware who at

all times relevant to this action resided in Wilmington, Delaware. Dr. King is licensed to
practice medicine in Delaware and is registered to prescribe controlled substances.          Dr. King
claims to specialize in pain management.
         18.      Defendant Damon D. Cary, D.O. (“Dr. Cary”) is a citizen of Pennsylvania who
resides in Philadelphia, Pennsylvania. At all times relevant to this action, Dr. Cary practiced
medicine and treated State Farm Insureds in Wilmington, Delaware and Newark, Delaware. Dr.
Cary is licensed to practice medicine in Delaware and is registered to prescribe controlled
substances. Dr. Cary claims to specialize in pain management.
         19.      Defendant William R. Atkins, Jr., M.D. (“Dr. Atkins”) is a citizen of Delaware
who at all times relevant to this action resided in Wilmington, Delaware. Dr. Atkins is licensed
to practice medicine in Delaware and is registered to prescribe controlled substances. Dr. Atkins
claims to specialize in pain management.
         20.      Dr. King, Dr. Cary, and Dr. Atkins are collectively referred to as “the Doctors.”
         21.      Defendant Delaware Diagnostic & Rehabilitation Center, P.A. (“Delaware
Diagnostic”) is a Delaware professional association with its principal place of business at 1700

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Wawaset Street, Suite 100, Wilmington, Delaware 19806. Dr. King and Dr. Atkins own or
owned Delaware Diagnostic. Dr. King and Dr. Atkins treat patients at Delaware Diagnostic.
         22.       Defendant Conrad K. King, Jr., M.D., P.A. (“King Practice”) is a Delaware
professional association with its principal place of business at 1400 Peoples Plaza, Suite 233,
Newark, Delaware 19702. Dr. King owns the King Practice. Dr. King and Dr. Cary treat
patients at the King Practice.
         23.      Defendant Damon D. Cary, D.O., P.A. (“Cary Practice”) is a Delaware
professional association with its principal place of business at 305 North Union Street, Suite 110,
Wilmington, Delaware 19805. Dr. Cary owns the Cary Practice and treats patients there along
with Dr. King.
         24.      Defendant William R. Atkins, Jr., M.D., LLC (“Atkins Practice”) is a Delaware
limited liability company with its principal place of business at 550 Stanton Christiana Road,

Suite 201, Newark, Delaware 19713. Dr. Atkins owns the Atkins Practice and treats patients
there.
         25.      Delaware Diagnostic, King Practice, Cary Practice, and Atkins Practice are
collectively referred to as “the Clinics.”
                           Delaware Motor Vehicle Insurance Coverage
         26.      State Farm Mutual and State Farm Fire issue motor vehicle insurance policies in
Delaware.
         27.      Under Delaware law, motor vehicle owners are required to purchase minimum
insurance coverages including coverage to compensate injured persons in the covered driver’s
motor vehicle regardless of whether the vehicle’s driver was at fault in causing the accident.
This coverage is commonly called personal injury protection insurance or no-fault insurance.
         28.      The no-fault coverage must provide “[c]ompensation to injured persons for
reasonable and necessary expenses incurred within 2 years from the date of the accident.” See
Del. Code Ann. tit. 21, § 2118(a)(2). The coverage includes reasonable and necessary medical
services expenses and certain other specified expenses. See id.

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         29.      Pursuant to Delaware law and the terms of their insurance policies, State Farm
Mutual and State Farm Fire are obligated to pay medical expenses only if they are reasonable,
necessary, and related to an injury caused by the accident.
         30.      The statutory minimum amount of no-fault insurance coverage is $15,000 for one
person and $30,000 for all persons injured in any one accident. See Del. Code Ann. tit. 21, §
2118(a)(2).       The minimum coverage amount is subject to any deductibles and percentage
reductions as provided in the applicable policy. See id.
         31.      An insured can assign his or her right to no-fault insurance benefits to a medical
provider in exchange for medical services to treat the insured’s injuries resulting from the
accident. A properly executed assignment of benefits allows a medical provider to submit claims
directly to automobile insurance companies and receive payment directly from the insurance
company for necessary medical services.

         32.      Here, Defendants submitted bills and medical records directly to State Farm
Mutual and State Farm Fire to support Defendants’ claims for payment of no-fault insurance
benefits. Defendants’ submission of bills for payment constituted a representation that the
medical services were: (a) for injuries resulting from the automobile accident; (b) reasonable;
and (c) necessary.
                              Delaware’s Regulation of Opioid Prescriptions
         33.      The prescription medications at issue in this case (for example, oxycodone,
hydrodocone or codeine) are designated Schedule II or Schedule III controlled substances under
federal and state law. See 21 C.F.R. §§ 1306.12(a) and 1308.13; see also Del. Code Ann. tit. 16,
§§ 4718 and 4739(b).
         34.      A Schedule II controlled substance is a drug that has an accepted medical use, but
which has high potential for abuse that may lead to severe psychological or physical dependence.
See 21 U.S.C. § 812(b); Del. Code Ann. tit. 16, § 4715.




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         35.      A Schedule III controlled substance is a drug that has an accepted medical use,
but has a lower potential for abuse and may lead to moderate or low physical dependence or high
psychological dependence. See 21 U.S.C. § 812(b); Del. Code Ann. tit. 16, § 4717.
         36.      Doctors may not prescribe refills for Schedule II controlled substances, including
opioids, but rather must issue a new and separate prescription for Schedule II controlled
substances. See 21 C.F.R. § 1306.12(a); Del. Code Ann. tit. 16, § 4739(b).
         37.      In Delaware, a physician can only write a prescription for a Schedule II or
Schedule III controlled substance for 100 dosage units or a 31-day supply, whichever is greater.
24 Del. Admin. Code CSA § 4.7.1.
                     Delaware’s Efforts to Curb Opioid Misuse and Diversion
         38.      In 2013, the Delaware Prescription Drug Action Committee noted that “[o]ver the
last two decades, the drug overdose mortality rate has accelerated rapidly both nationwide and in

Delaware. The overwhelming majority of the drug overdose mortality deaths have been caused
by prescription drug abuse and misuse, particularly in the opioid pain reliever category.”2
         39.      In fact, almost two million Americans abused or were dependent on prescription
opioids in 2014. 3 The Centers for Disease Control and Prevention (“the CDC”) reports that as
many as one in four people who receive prescription opioids for non-cancer pain in primary care
settings struggles with addiction.4
         40.      Opioids are not only addictive, but can be lethal. According to the CDC, more
people died from drug overdoses in 2016 than in any prior year on record and more than six out


2
  Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014
available at
http://www.samhsa.gov/data/sites/default/files/2014_National_Survey_of_Substance_Abuse_Treatment
Services/2014_National_Survey_of_Substance_Abuse_Treatment_Services/2014_National_Survey_of_Substance_A
buse_Treatment_Services.pdf (emphasis added).
3
  Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014
available at
http://www.samhsa.gov/data/sites/default/files/2014_National_Survey_of_Substance_Abuse_Treatment
Services/2014_National_Survey_of_Substance_Abuse_Treatment_Services/2014_National_Survey_of_Substance_
Abuse_Treatment_Services.pdf.
4
  CDC, “Injury Prevention & Control: Opioid Overdose,” available at
https://www.cdc.gov/drugoverdose/data/overdose.html.

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of ten drug overdose deaths involved an opioid. 5 From 1999 to 2016, more than 350,000 people
in the United States died from overdoses related to opioids.6 In 2014 alone, 189 people died in
Delaware from drug overdoses.
         41.      On July 15, 2010, Delaware implemented a prescription drug monitoring
program.       The program requires a prescriber of a Schedule II controlled substance (which
includes nearly all opioids) to first obtain “a patient utilization report regarding the patient for the
preceding 12 months from the computerized program established by the office of controlled
substances when the prescriber has a reasonable belief that the patient may be seeking the
controlled substance, in whole or in part for any reason other than the treatment of an existing
medical condition. The prescriber shall review the patient utilization report to assess whether the
prescription for the controlled substance is necessary.” Del. Code Ann. tit. 2, § 4798 (e).
         42.      Pain management specialists generally agree that it is appropriate and part of the

general standard of care to periodically verify a patient’s prescription history via a prescription
monitoring program any time opioid pain medications are prescribed for an extended period of
time.
         43.      In 2011, the Delaware Board of Medical Licensure and Discipline adopted the
Federation of State Medical Boards’ Model Policy for the Use of Controlled Substances for
Treatment of Pain (“the Model Policy”). See 24 Del. Admin. Code § 1700.18.0 et seq. The
Model Policy was “developed to define specific requirements applicable to pain control,
particularly related to the use of controlled substances, to alleviate licensed practitioners’
uncertainty to encourage better pain management, and to minimize practices that deviate from


5
  Rudd et al., “Increases in Drug and Opioid Overdose Deaths – United States, 2000-2014,” Morbidity and Mortality
Weekly Report (MMWR) (Jan. 1, 2016), available at
http://www.cdc.gov/mmwr/preview/mmwrhtml/mm6450a3.htm?s_cid=mm6450a3_w; Scholl et al., “Overdose
Deaths Involving Opioids, Cocaine, and Psychostimulants – United States, 2015-2016,” Morbidity and Mortality
Weekly Report (MMWR) (Mar. 30, 2018), available at https://www.cdc.gov/mmwr/volumes/67/wr/mm6712a1.htm.
6
  See Dowell et al., “CDC Guidelines for Prescribing Opioids for Chronic Pain – United States, 2016,” Morbidity
and Mortality Weekly Report (MMWR) (Mar. 18, 2016), available at
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm; Scholl et al., “Overdose Deaths Involving Opioids,
Cocaine, and Psychostimulants – United States, 2015-2016,” Morbidity and Mortality Weekly Report (MMWR)
(Mar. 30, 2018), available at https://www.cdc.gov/mmwr/volumes/67/wr/mm6712a1.htm.

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the appropriate standard of care and lead to abuse and diversion.” 24 Del. Admin. Code §
1700.18.0.
         44.      The Board explicitly recognized that “the use of opioid analgesics for other than
legitimate medical purposes can pose a threat to the individual and society and that the
inappropriate prescribing of controlled substances, including opioid analgesics, may lead to drug
diversion and abuse by individuals who seek them for other than legitimate medical use.
Accordingly, these regulations mandate that licensed practitioners incorporate safeguards into
their practices to minimize the potential for the abuse and diversion of controlled substances.”
24 Del. Admin. Code § 1700.18.0.
         45.      Delaware regulations further provide that “[a]t a minimum, practitioners who
regularly treat patients for chronic pain must educate themselves about the current standards of
care applicable to those patients.” 24 Del. Admin. Code § 1700.18.6.

         46.      When evaluating the treatment of chronic pain, a “medical history and physical
examination must be obtained, evaluated, and documented in the medication record.              The
evaluation must document: [ ] etiology, the nature and intensity of the pain, current and past
treatments for pain, [ ] underlying or coexisting diseases or conditions, [ ] the effect of pain on
physical and psychological function, and history of substance abuse, [and] the presence of one or
more recognized medical indications for the use of a controlled substance.” 24 Del. Admin.
Code § 1700.18.1 (emphasis added). Further, these criteria “may be applicable to prescribing
controlled substances for the treatment of acute pain when clinically appropriate.” Id.
         47.      When prescribing controlled substances for the treatment of pain, “[a] written
treatment plan is required and must state goal and objectives that will be used to determine
treatment success, such as pain relief and improved physical and psychological function, and
should indicate if any further diagnostic evaluations or other treatments are planned. . . . After
treatment begins, the practitioner must adjust drug therapy to the individual needs of each
patient.” 24 Del. Admin. Code § 1700.18.2 (emphasis added).
         48.      The doctor “shall periodically review the course of pain treatment and any new

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information about the etiology of the pain or the patient’s state of health. Periodic review shall
include, at a minimum, evaluation of the following: [ ] continuation or modification of controlled
substances for pain management therapy depending on the practitioner’s evaluation of the
patient’s progress toward treatment goals and objectives[;] satisfactory response to treatment as
indicated by the patient’s decreased pain, increased level of function, or improved quality of life
. . .[;] if the patient’s progress is unsatisfactory, the practitioner shall assess the appropriateness
of continued use of the current treatment plan and consider the use of other therapeutic
modalities.” 24 Del. Admin. Code § 1700.18.5 (emphasis added).
         49.       Medical practitioners are required to appropriately document each visit and must
include, for each visit, “the interim history and physical examination, vital signs as clinically
appropriate, assessment of progress, and medication plan.” 24 Del. Admin. Code § 1700.18.8.
         50.       Doctors who prescribe or dispense controlled substances are required to maintain

a record of the name and address of the patient, the date the medication was prescribed, and the
name, strength, amount of the medication and whether any refills are authorized. 24 Del. Admin.
Code CSA § 6.1.2.
                  Delaware’s Regulations for Safe Prescribing of Opioid Analgesics
         51.       On April 1, 2017, Delaware adopted new regulations governing the “Safe
Prescribing of Opioid Analgesics,” which included distinct guidelines to address the use of
opioids to address acute pain and chronic pain. See 24 Del. Admin. Code CSA § 9.0 et seq.
         52.       As a threshold matter, each practitioner must be licensed in Delaware “and
registered with the U.S. Drug Enforcement Administration and must comply with all applicable
federal and state regulations.” Id. at § 9.2.
         53.       The regulations define “acute pain” as the “normal predicted physiological
response to a noxious chemical, thermal or mechanical stimulus and typically is associated with
invasive procedures, trauma, and disease. It is generally time limited. For the purpose of this
Regulation, Acute Pain is less than three months in duration.” Id. at § 9.3.2.
         54.       Generally, a first time prescription for opioid analgesic cannot exceed a seven-day

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supply. Id. at §§ 9.5.1 & 9.5.2. However, an opioid prescription longer than seven days may be
issued if it is warranted “in the professional medical judgment of a practitioner . . . to treat [the]
acute medical condition.” Id. at § 9.5.3. In such circumstances, the practitioner must document
the condition triggering the prescription in the patient’s medical record, query the Prescription
Monitoring Program to obtain a prescription history, indicate that a non-opiate alternative was
not appropriate to address the medical condition, obtain an informed consent form signed by the
patient, and schedule and undertake follow-up visits and evaluation to monitor and assess the
patient’s progress towards goals in the treatment plan and modify the plan as necessary. Id. at §§
9.5.3, 9.6.4 and 9.6.5.
         55.      After the initial prescription and prior to issuing a subsequent prescription, the
practitioner must perform an appropriate evaluation of the patient’s medical history and
condition, which includes a query of the Prescription Monitoring Program for the first visit after

the initial prescription, administer a fluid drug screen (at the discretion of the practitioner),
conduct a physical examination which must include a discussion of the risks and benefits of
opioid analgesics and possible alternatives to their use, obtain an informed consent form signed
by the patient and schedule and undertake follow-up visits and evaluation to monitor and assess
the patient’s progress towards goals in the treatment plan and modify the plan as necessary. Id.
at §§ 9.6-9.6.5.
         56.      The Regulations explain that the informed consent must include at least
information pertaining to:
                  (a)     the drug’s potential for addiction, abuse and misuse,
                  (b)     the risks associated with the drug of life threatening respiratory
                          depression,
                  (c)     the risks of overdose as a result of accidental exposure potentially fatal,

                          especially in children; neonatal opioid withdrawal symptoms, and
                  (d)     a potentially fatal overdose when interacting with alcohol and other
                          potentially fatal drug/drug interactions such as benzodiazepines.

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Id. at § 9.6.4.
         57.      The Regulations define “Chronic Pain” as “a state in which pain persists beyond
the usual course of an acute disease or healing of an injury or that may or may not be associated
with an acute or chronic pathologic process that it causes continuous or intermittent pain over
months or years. For the purpose of this Regulation, Chronic Pain means continuous or nearly
continuous pain more than three months in duration.” Id. at § 9.3.6.
         58.      In order to prescribe opioids for chronic pain patients, a provider must comply
with the requirements of subsection 9.6 and follow certain additional safeguards. See id. at § 9.7.
         59.      For chronic pain patients, a practitioner must query the Prescription Monitoring
Program:
                  (a)     at least every six months (more if clinically indicated),
                  (b)     whenever the patient is also prescribed a benzodiazepine,

                  (c)     if the patient is assessed to be at risk for substance abuse or misuse,
                  (d)     if a patient demonstrates such things as loss of prescriptions, requests for
                          early refills or similar behavior.
Id. at § 9.7.1 & 9.7.2.
         60.      In addition, for chronic pain patients, the practitioner is to administer a fluid drug
screen at least every six months, obtain a signed treatment agreement, conduct a risk assessment
and document in the record alternative treatment options that have been tried by the patient and
their adequacy in providing sufficient management of pain.
         61.      Defendants did not comply with the foregoing standards and requirements under
Delaware law in treating the State Farm Insureds.
         Defendants Engaged in Scheme Designed to Maximize Their Own Revenues
         62.      Defendants’ medical services were neither reasonable nor necessary as a result of
the automobile accident, but were furnished as a consequence of Defendants’ unlawful and
fraudulent scheme. Instead of treating each State Farm insured based on his or her needs, the
Defendants: prescribed large quantities of opioid pain relievers to most patients at their initial

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visits without using basic safeguards to ensure patients were not misusing or diverting the opioid
medications; required patients to complete physical therapy treatment consisting primarily of
passive modalities that were designed to increase Defendants’ billings rather than improve
patients’ medical conditions; and directed patients to return for follow-up examinations every
month and using the opioid prescriptions as an inducement to ensure that patients continued
treating with Defendants for extended periods of time.
                  A.      Opioid Prescriptions – Early Prescriptions and Repeated Renewals
         63.      First, the Doctors over-prescribed opioid pain medications and prescribed them at
the earliest stages of treatment without utilizing or adopting appropriate safeguards.
         64.      The CDC estimates that only 20% of patients presenting to physician offices with
non-cancer pain symptoms or pain-related diagnoses (including acute and chronic pain) receive
an opioid prescription.7
         65.      More than 90% of State Farm Insureds received a prescription for opioids during
their treatment with Defendants. (See Exhibit 1, Exam Treatment Summary.)
         66.      The Doctors prescribed an opioid at more than 88% of initial visits for which
medical records were received. (See Exhibit 2, Initial Exam Summary.)
         67.      The Doctors prescribed an opioid pain medication at over 80% of the more than
2,000 patient examination visits. (See Exhibit 1, Exam Treatment Summary.) Of the patient
visits at which an opioid was prescribed, State Farm Mutual or State Farm Fire were billed by:
Delaware Diagnostic for over 20% of patient visits; the Atkins Practice for approximately 4% of
patient visits; the Cary Practice for over 45% of patient visits; and the King Practice for
approximately of 25% patient visits.8 (See Exhibit 1, Exam Treatment Summary.)
         68.      Even assuming an opioid was appropriate to treat acute pain after a minor
automobile accident that resulted in various strains and sprains, repeated renewals of opioid

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  See Dowell et al., “CDC Guidelines for Prescribing Opioids for Chronic Pain – United States, 2016,” Morbidity
and Mortality Weekly Report (MMWR) (Mar. 18, 2016), available at
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
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  There were forty-three (43) patient visits where the Provider ID information was not available.

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prescriptions generally are not required for the vast majority of automobile accident patients.
Defendants, however, repeatedly prescribed opioids for more than twelve months for many
patients, including some patients under the age of 18.
         69.      The Doctors directed the patients to return for a follow-up visit approximately
every 30 days at which time the patients received a minimal evaluation and a renewal of their
opioid prescription.
         70.      By prescribing opioid pain medications to more than 90% of their patients,
Defendants increased the likelihood the patients would return for monthly visits to obtain new
prescriptions – which most of the patients did for extended periods of time. Indeed, the average
duration of treatment for State Farm Insureds after each accident was 252 days with 7.6 re-
examination visits. (See Exhibit 1, Exam Treatment Summary.)
         71.      However, there is little support for the long-term use (i.e., use for more than three

months) of opioids for reducing pain and improving function. 9
         72.      In issuing and re-issuing opioid prescriptions, Defendants’ actions fell well below
the standard of care and instead ensured that the patients would continue to seek renewals for
inappropriate and dangerous opioid medications.
         73.      Defendants failed to utilize the standard practices adopted by pain specialists –
which they proclaim to be – throughout Delaware and across the country to increase the safety
and effectiveness of prescribing opioids for non-cancer pain.
         74.      As noted above, proper prescription documentation of the medication, strength,
and dosage is necessary to correlate and evaluate the medication’s therapeutic benefits and side
effects and manage the patient’s care. However, the Doctors failed to appropriately document
the medications they prescribed. For example, on certain patients’ records only the words “refill




9
 See Dowell et al., “CDC Guidelines for Prescribing Opioids for Chronic Pain – United States, 2016,” Morbidity
and Mortality Weekly Report (MMWR) (Mar. 18, 2016), available at
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.

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pain meds” were documented. The name of the medication, strength, and dosage instructions
were not indicated. (See Exhibit 3A, 3B, 3C and 3D, Examples of Exam Medical Records.)
         75.      Further, Delaware law requires a prescriber to obtain a report from the
Prescription Monitoring Program reflecting a patient’s prescription drug utilization if the
prescriber has a reasonable belief the patient may be seeking the controlled substance for any
reason other than treatment of an existing medical condition. The Doctors routinely failed to
comply with this requirement. According to Defendants’ medical records:
                  (a)   Dr. Cary did not check the Delaware Prescription Monitoring Program a
                        single time during 752 patient exams of State Farm Insureds. (See Exhibit
                        1, Exam Treatment Summary.)
                  (b)   There were 456 evaluations performed where the specific performing
                        provider was not identified and the Delaware Prescription Monitoring

                        Program was checked only one time.
                  (c)   Margaret Love, a physician’s assistant, who performed 180 total
                        evaluations for Dr. Cary’s practice and Dr. King’s Practice, did not check
                        the Delaware Prescription Monitoring Program a single time.
                  (d)   Dr. Atkins checked the Delaware Prescription Monitoring Program 32
                        times (8%) during his 366 patient exams of State Farm Insureds.      (See
                        Exhibit 1, Exam Treatment Summary.)
                  (e)   Dr. King checked the Delaware Prescription Monitoring Program 24 times
                        (9.5%) during his 252 patient exams of State Farm Insureds. (See Exhibit
                        1, Exam Treatment Summary.)
         76.      One safeguard utilized by pain management doctors (which was later codified)
is the use of a treatment agreement. In the pain management context, a treatment agreement is a
written agreement between the patient and his or her medical provider in which the patient
agrees to certain terms and conditions of receiving addictive pain medications, including routine
drug testing, how renewals of pain medications will be evaluated and handled, the reasons for

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which pain medications may be discontinued, and a requirement that the patient receive
prescriptions from only one licensed practitioner. Defendants rarely entered into treatment
agreements with their patients.
         77.      Pill counts are another monitoring mechanism for doctors prescribing opioids
where the doctors count the remaining opioid tablets during each patient visit for medication
renewal to ensure patients are using the medication properly and make any appropriate
adjustments to dosage, frequency or the number of pills provided. Defendants’ medical records
reflect they performed a pill count on only 2 of 1776 evaluation visits where complete records
were submitted. (See Exhibit 1, Exam Treatment Summary.)
         78.      Another standard practice is to perform routine drug testing which assists a
provider in ensuring a patient’s compliance with the prescribed opioid regime and to monitor the
use of any non-prescribed or illicit substances. Urine drug testing results aid in clinical decision-

making with respect to continuation, discontinuation, or modification (for example, limiting the
supply, selecting a drug with lower street value, requiring more frequent office visits, performing
more frequent pill counts, consulting with a substance abuse specialist) of opioid therapy. A
minimum of one urine drug test per year should be performed on every patient who receives
prescriptions for opioids on a long-term basis.
         79.      Defendants purportedly ordered drug testing on State Farm Insureds at only 15%
of the evaluation visits. Moreover, Defendants only documented the drug test results in the
medical records in only about half of those instances, which records were often inconsistent and
incomplete because they failed to state the test results, explain why the patient was compliant (or
non-compliant), and/or state whether any illicit substances were discovered. (See Exhibit 1,
Exam Treatment Summary.)
         80.      For example, on at least six (6) occasions, Dr. Cary’s patients tested positive for a

non-prescribed drug and he noted that he would repeat the drug screening to rule out a potential
false positive test result, but Dr. Cary did not repeat the drug test and continued to prescribe
opioids to each patient.

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         81.      Defendants’ failure to utilize or properly employ these standard practices not only
exposed their patients to risk, but is demonstrative of their intent to tailor their treatment to
obtain insurance benefits rather than promote their patients’ recovery.
                  B.     Physical Therapy Treatments
         82.      The Doctors prescribed, and the Clinics provided, physical therapy treatments
consisting primarily of passive modalities for the first two to three months the State Farm
Insureds treated with Defendants.
         83.      For patients who have been in automobile accidents and who have complaints of
pain, a detailed history and legitimate physical examination must be performed to arrive at a
legitimate diagnosis and individualized treatment plan for each patient based on his or her
specific medical condition and needs. During the course of treatment, treatment plans should be
modified based upon the unique circumstances of each patient and his or her response (or lack

thereof) to the treatment.
         84.      Legitimate treatment plans for patients with soft tissue injuries, strains, and
sprains may involve no treatment at all because many of these kinds of injuries heal without any
medical intervention, or they may involve a variety of interventions including medications to
reduce inflammation and relieve pain, passive physical therapy modalities, and active physical
therapy modalities.
         85.      Passive physical therapy modalities do not require any affirmative effort or
movement by patients. There are many kinds of passive modalities including hot and cold packs,
ultrasound, traction, manual therapy, therapeutic massage, and electrical stimulation.
         86.      Active physical therapy modalities require patients to affirmatively participate in
their treatment and include various kinds of stretching and strengthening exercises.
         87.      In legitimate treatment plans following an accident, passive modalities typically

are used only to the extent necessary to reduce pain and to facilitate the patient’s ability to
perform active modalities, which should be introduced into a patient’s treatment plan as soon as
practicable.

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         88.      Here, nearly every State Farm Insured received a diagnosis for a lumbar, thoracic,
or cervical sprain (i.e., a sprain to one or more parts of the back). This diagnosis was used to
substantiate the purported need for physical therapy.           (See Exhibit 1, Exam Treatment
Summary.)
         89.      Patients suffer from a variety of ailments following car accidents including back
sprains, however, diagnosing over 99% of automobile accident patients with a spinal sprain
(stretching or tearing of the spinal ligaments) is simply not credible.
         90.      After receiving the non-credible diagnoses of some sort of back sprain, the vast
majority of State Farm Insureds were prescribed and received physical therapy treatments at the
Clinics consisting overwhelmingly of passive treatment modalities administered by clinic staff.
(See Exhibit 4, Patients Who Received Physical Therapy.)
         91.      While one or more passive modalities may be appropriate on any particular visit

to reduce pain and facilitate the patient’s ability to perform active modalities, a combination of
only passive modalities – hot packs, electrical stimulation, massage, and ultrasound – on nearly
every visit regardless of whether the patient improved would rarely be appropriate for one such
patient, let alone for almost every patient being treated on the vast majority of visits.
         92.      Combined, the Defendants billed State Farm for more than 4,000 physical therapy
visits for the State Farm Insureds who received physical therapy. (See Exhibit 5, Physical
Therapy Summary.) Each patient received, on average, almost 21 physical therapy visits. (Id.)
         93.      Approximately 80% of the physical therapy visits did not involve a single active
modality. (See Exhibit 5, Physical Therapy Summary.) Further, 98 patients never received an
active modality at all through their course of treatment. As discussed above, passive modalities
should yield to active modalities as treatment continues and a patient’s condition improves.
Therefore, the fact that active modalities frequently were not introduced into treatment suggests

the patient’s condition was not improving. Nevertheless, the Doctors did not change the course
of therapy prescribed.



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         94.      The physical therapy plans and treatments were not designed to help the patients’
injuries heal, but were designed to provide additional revenue for Defendants with minimal
work.
                                State Farm’s Reliance and Damages
         95.      Defendants are obligated legally and ethically to act honestly and with integrity.
The Delaware medical practice statute governs the conduct of medical and osteopathic doctors.
Violations of the statute can result in disciplinary action against the doctor or prosecution by the
attorney general. Under the statute, unprofessional conduct expressly includes:
                  (a)    The use of any false, fraudulent, or forged statement or document or the
                         use of any fraudulent, deceitful, dishonest, or unethical practice . . . in
                         connection with the practice of medicine;
                  (b)    Any dishonorable, unethical, or other conduct likely to deceive, defraud,

                         or harm the public;
                  (c)    The use, distribution, or issuance of a prescription for a dangerous or
                         narcotic drug, other than for therapeutic or diagnostic purposes.
Del. Code Ann. tit. 24, § 1731(b).
         96.      Further, the Delaware Administrative Code explains that dishonorable, unethical,
or conduct likely to deceive, defraud, or harm the public includes:
                  (a)    “A pattern of performance of unnecessary medical procedures”;
                  (b)    “Fraudulent billing for medical services”; and
                  (c)    “Failure to comply with the Board’s regulations governing the use of
                         controlled substances for the treatment of pain.”
24 Del. Admin. Code §§ 1700.8.1.1, 1700.8.1.4, and 1700.8.1.12.
         97.      Despite their duty to act honestly, by submitting the bills and supporting

documentation, Defendants represented that they actually provided the services billed and that
the services were reasonable, related to the automobile accident, and medically necessary.



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         98.      However, Defendants’ bills and supporting documentation were false, misleading,
and/or fraudulent because they did not reflect actual diagnoses or treatments that were reasonable
or medically necessary. Instead, the services were part of Defendants’ predetermined treatment
plan aimed at maximizing the financial benefit to Defendants without regard to the patients’
individual needs.
         99.      State Farm Mutual and State Farm Fire are under statutory and contractual
obligations to promptly process claims within 30 days of receipt of a written request for payment
of a claim for benefits. See Del. Code Ann. tit. 21, § 2118B(c). The bills and supporting
documents that Defendants submitted to State Farm Mutual and State Farm Fire in support of the
fraudulent charges at issue were designed to, and did, cause State Farm Mutual and State Farm
Fire to justifiably and reasonably rely on them in processing payment for Defendants’ services.
         100.     As a result, State Farm Mutual incurred damages of almost $550,000 and State

Farm Fire incurred damages of more than $600,000 based upon Defendants’ fraudulent charges
for services rendered from January 1, 2016 through the present.
         101.     Based on Defendants’ intentional misrepresentations to State Farm Mutual and
State Farm Fire, State Farm Mutual and State Farm Fire did not discover and should not have
reasonably discovered that their payments to Defendants were based on fraud until they reviewed
the patterns reflected in the bills and supporting documentation Defendants submitted to State
Farm Mutual and State Farm Fire which revealed the Defendants’ predetermined treatment plan
and improper opioid prescribing practices.
         102.     Defendants fraudulently concealed their conduct by repeatedly submitting
misleading bills and medical records that made it appear they were delivering legitimate medical
care when considered in the context of a single patient’s claim. However, Defendants were not
providing legitimate medical care designed to address their patients’ actual injuries from

automobile accidents.      Instead, they were indiscriminately prescribing opioid narcotics and
physical therapy to the vast majority of patients who treated at the Clinics. Only when State
Farm Mutual and State Farm Fire reviewed all of the bills and patient records over an extended

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time period as a whole did Defendants’ wrongful conduct become apparent. The submission of
misleading bills and medical records were affirmative acts by Defendants that prevented State
Farm from discovering the truth.
         103.     State Farm Mutual’s and State Farm Fire’s injuries were inherently unknowable
because State Farm Mutual and State Farm Fire believed they were paying what they owed.
They processed and paid Defendants’ fraudulent claims in the normal course of business and did
not suspect, and had no reason to suspect, that Defendants were engaged in a fraudulent scheme
designed to improperly and unlawfully extract insurance benefits from State Farm Mutual and
State Farm Fire.
                               FIRST CLAIM FOR RELIEF
                          (Common Law Fraud Against All Defendants)
         104.     State Farm Mutual and State Farm Fire incorporate, as if fully set forth herein,

each and every allegation in paragraphs 1 through 103.
         105.     Defendants Delaware Diagnostic, Atkins Practice, Cary Practice, King Practice,
Dr. Atkins, Dr. Cary, and Dr. King intentionally and knowingly made false and misleading
statements of material fact to State Farm Mutual and State Farm Fire by submitting, or causing to
be submitted, bills and supporting documentation that contained false representations concerning
patients treated at Delaware Diagnostic, Atkins Practice, Cary Practice, and King Practice by

Drs. Atkins, Cary, and King.
         106.     The false and misleading representations of material fact include representations
that:
                  (a)    Patients were legitimately examined to determine the true nature and
                         extent of their injuries, when they were not;
                  (b)    Patients were legitimately diagnosed with, among other things, sprains and
                         strains of the cervical, thoracic, and/or lumbar regions of the spine, when
                         they were not;




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                  (c)    Patients were prescribed and received physical therapy treatments that
                         were medically necessary, when in the fact the treatment was performed
                         based on the predetermined treatment protocol and not based on an
                         individualized assessment and evaluation of patients’ medical needs;
                  (d)    Patients were prescribed and received opioid pain medications that were
                         medically necessary, when in fact the medications were provided based on
                         the predetermined treatment protocol as an inducement for patients to
                         continue treating with Defendants;
                  (e)    Patients received numerous follow-up examinations that were medically
                         necessary, when in fact the examinations were provided based on the
                         predetermined treatment protocol and not based on an individualized
                         assessment and evaluation of patients’ medical needs.

         107.     Dr. Atkins, Dr. Cary, Dr. King, Delaware Diagnostic, Atkins Practice, Cary
Practice, and King Practice each knew the representations described in the paragraph above were
false and misleading at the time they were made. Defendants knew the treatments they provided
were not medically necessary and that they were not legitimately evaluating, diagnosing, and
treating the State Farm Insureds.
         108.     Defendants’ false and misleading statements of material fact include the
representations in each claim identified Exhibits 6, 7, 8, and 9.
         109.     Dr. Atkins, Dr. Cary, Dr. King, Delaware Diagnostic, Atkins Practice, Cary
Practice, and King Practice each made the misrepresentations described above and engaged in
such conduct to induce State Farm Mutual and State Farm Fire to rely on the misrepresentations
and pay their bills for services rendered to State Farm Insureds.
         110.     State Farm Mutual and State Farm Fire relied on Defendants’ misrepresentations

when they paid Defendants’ bills.
         111.     State Farm Mutual’s and State Farm Fire’s reliance was justifiable and reasonable
because they did not know or have reason to know that Defendants’ representations were false.

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         112.     As a result of its reliance, State Farm Mutual incurred damages of almost
$550,000. State Farm Mutual paid the following amounts to each of the Clinics based on its
reliance:
                  (a)     Delaware Diagnostic: more than $170,000 (see Exhibit 6);
                  (b)     Atkins Practice: more than $75,000 (see Exhibit 7);
                  (c)     Cary Practice: more than $190,000 (see Exhibit 8); and
                  (d)     King Practice: more than $120,000 (see Exhibit 9).
         113.     As a result of its reliance, State Farm Fire incurred damages of at least $600,000.
State Farm Fire paid the following amounts to each of the Clinics based on its reliance:
                  (a)     Delaware Diagnostic: more than $200,000 (see Exhibit 6);
                  (b)     Atkins Practice: more than $40,000 (see Exhibit 7);
                  (c)     Cary Practice: more than $270,000 (see Exhibit 8); and

                  (d)     King Practice: more than $120,000 (see Exhibit 9).
         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against Dr.
Atkins, Dr. Cary, Dr. King, Delaware Diagnostic, Atkins Practice, Cary Practice, and King
Practice for compensatory damages, costs, and any other relief the Court deems just and
appropriate.
                               SECOND CLAIM FOR RELIEF
       (Violation of Civil Conspiracy Against Dr. Atkins, Dr. Cary, Dr. King, Delaware
                         Diagnostic, Cary Practice, and King Practice)
         114.     State Farm Mutual and State Farm Fire incorporate paragraphs 1 through 103 as if

fully set forth herein.

         115.     Each Defendant – Dr. Atkins, Dr. Cary, Dr. King, Delaware Diagnostic, Cary

Practice, and King Practice – knowingly agreed and conspired to conduct and participate,

directly or indirectly, in the scheme when they submitted or caused to be submitted claims that

were fraudulent and unlawful (as described above in paragraphs 1 through 103).




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         116.     Dr. Atkins, Dr. Cary, Dr. King, Delaware Diagnostic, Cary Practice, and King

Practice each agreed to act and did act in furtherance of the common and overall objective of the

conspiracy to fraudulently obtain no-fault insurance benefits by facilitating the submission of

bills and supporting documentation that made intentional misrepresentations that the

examinations, diagnoses, services, and medications were medically necessary and were lawful

for the claim numbers identified in Exhibits 6, 8, and 9.

         117.     Accordingly, the Defendants are jointly and severally liable to State Farm Mutual

and State Farm Fire for the damages caused by the Defendants’ conspiracy.

         118.     State Farm Mutual has been injured in its business and property by reason of

Defendants’ conduct in that it paid almost $475,000 based upon the fraudulent submission of

bills and supporting documentation.

         119.     State Farm Fire has been injured in its business and property by reason of

Defendants’ conduct in that it paid more than $565,000 based upon the fraudulent submission of

bills and supporting documentation.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against
Defendants for compensatory damages plus interest, and any other relief the Court deems just
and proper.
                                 THIRD CLAIM FOR RELIEF
                             (Unjust Enrichment Against the Clinics)
         120.     State Farm Mutual and State Farm Fire incorporate, as if fully set forth herein,
each and every allegation in paragraphs 1 through 103.
         121.     There is no contract between State Farm Mutual and any of Defendants that
governs State Farm Mutual’s payment of no-fault insurance benefits to Defendants.
         122.     There is no contract between State Farm Fire and any of Defendants that governs
State Farm Fire’s payment of no-fault insurance benefits to Defendants.



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          123.    State Farm Mutual and State Farm Fire have been impoverished by the payment
of insurance benefits by State Farm Mutual and State Farm Fire to the Clinics. The Clinics were
enriched by State Farm Mutual’s and State Farm Fire’s payments.
          124.    There is a direct relationship between State Farm Mutual and State Farm Fire and
the Clinics. The Clinics billed for the services purportedly provided by the Doctors and other
Clinic personnel to the State Farm Insureds, billed State Farm Mutual and State Farm Fire for
those services, and State Farm Mutual and State Farm Fire paid the Clinics for those services.
          125.    There is no justification for Defendants’ conduct or their retention of State Farm
Mutual and State Farm Fire’s payments to them. As described herein, Defendants engaged in an
intentional and fraudulent scheme to obtain insurance benefits from State Farm Mutual and State
Farm Fire. Instead of treating each State Farm Insured based on his or her individual needs,
Defendants engaged in a predetermined treatment protocol that involved prescribing large

quantities of opioid pain relievers to most patients, requiring patients to complete a compulsory
round of physical therapy at the outset of treatment, and directing patients to return for follow-up
examinations every month and using the opioid prescriptions as an inducement to ensure that
patients continued treating with Defendants. Rather than employing necessary and adequate
safeguards in connection with prescribing dangerous and highly addictive opioid pain
medications, Defendants largely neglected to use even the most basic safeguards such as
checking the Delaware Prescription Monitoring Program, utilizing treatment agreements,
performing pill counts, and requiring periodic urine drug testing. Defendants’ conduct not only
defrauded State Farm Mutual and State Farm Fire, but depleted State Farm Insureds’ no-fault
insurance benefits for unnecessary services and, worst of all, endangered State Farm Insureds’
health.
          126.    State Farm Mutual and State Farm Fire plead unjust enrichment in the alternative

to their fraud claim. If State Farm Mutual and State Farm Fire are unsuccessful on that claim,
then State Farm Mutual and State Farm Fire will have no remedy at law for Defendants’
wrongful conduct.

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         127.     State Farm Mutual and State Farm Fire seek restitution of their payments to
Clinics for services rendered from January 1, 2016 through the present, as set forth in Exhibits 6,
7, 8 and 9.
         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against
Defendants for restitution, costs, and any other relief the Court deems just and proper.
                                 FOURTH CLAIM FOR RELIEF
                (Declaratory Relief Pursuant to 28 U.S.C. § 2201 Against the Clinics)
         128.     State Farm Mutual and State Farm Fire incorporates, as if fully set forth herein,
each and every allegation in paragraphs 1 through 103.
         129.     There is an actual controversy between State Farm Mutual and State Farm Fire,
on the one hand, and the Clinics, on the other hand, as to State Farm Mutual and State Farm
Fire’s obligation to pay the Clinics’ unpaid (whether in whole or in part) bills for services

rendered to State Farm Insureds, which claims and unpaid amounts are identified in Exhibits 6,
7, 8 and 9.
         130.     As described herein, Defendants engaged in an intentional and fraudulent scheme
to obtain insurance benefits from State Farm Mutual and State Farm Fire. Instead of treating
each State Farm Insured based on his or her individual needs, Defendants engaged in a
predetermined treatment protocol that involved prescribing large quantities of opioid pain
relievers to most patients, requiring patients to complete a compulsory round of physical therapy
at the outset of treatment, and directing patients to return for follow-up examinations every
month and using the opioid prescriptions as an inducement to ensure that patients continue
treating with Defendants.        Rather than employing necessary and adequate safeguards in
connection with prescribing dangerous and highly addictive opioid pain medications, Defendants
largely neglected to use even the most basic safeguards such as checking the Delaware

Prescription Monitoring Program, utilizing treatment agreements, performing pill counts, and
requiring periodic urine drug testing.      Defendants’ conduct not only defrauded State Farm



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Mutual and State Farm Fire, but depleted State Farm Insureds’ no-fault insurance benefits for
unnecessary services and, worst of all, endangered State Farm Insureds’ health.
         131.     As a result of Defendants’ fraudulent and unlawful conduct, State Farm Mutual
and State Farm Fire do not owe the Clinics payment for any unpaid bills.
         132.     Because Defendants provided services to State Farm Insureds that were not
medically necessary, State Farm Mutual and State Farm Fire do not owe the Clinics any payment
for any unpaid bills.
         133.     Accordingly, State Farm Mutual and State Farm Fire seek a declaration that they
do not owe the Clinics for any unpaid bills, which claims and unpaid amounts are identified in
Exhibits 6, 7, 8 and 9.
         WHEREFORE, State Farm Mutual and State Farm Fire demand a declaratory judgment
against the Clinics: (a) declaring that State Farm Mutual and State Farm Fire are not obligated to

pay any unpaid bills for services that Defendants provided from January 1, 2016 through the
present; (b) declaring that State Farm Insureds are not obligated to pay any unpaid bills for
services that Defendants provided from January 1, 2016 through the present; and (c) granting
such other and further relief this Court deems just and proper.
                                      DEMAND FOR JURY TRIAL
         Pursuant to Federal Rule of Civil Procedure 38(b), State Farm Mutual and State Farm
Fire demand a trial by jury of all issues so triable.




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DATED: November 15, 2018               McCARTER & ENGLISH, LLP

                                       /s/ Andrews S. Dupre
                                       Andrew S. Dupre (#4621)
OF COUNSEL:                            Alexandra Joyce (#6423)
                                       Renaissance Centre
David I. Spector                       405 N. King Street, 8th Floor
Adam K. Hodges                         Wilmington, Delaware 19801
S. Montaye Sigmon                      (302) 984-6300
AKERMAN LLP                            adupre@mccarter.com
777 South Flagler Drive, Suite 1100    ajoyce@mccarter.com
West Palm Beach, FL 33401
(561) 653-5000                         Counsel for Plaintiffs
david.spector@akerman.com
adam.hodges@akerman.com
montaye.sigmon@akerman.com




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